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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Southern District of Florida
 In re       Dariel Rizo Buergo                                                                               Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,000.00
             Prior to the filing of this statement I have received                                        $                     2,000.00
             Balance Due                                                                                  $                        0.00

2.   $      338.00      of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Exemption planning; and review and negotiation with trustee regarding possible settlements if necessary.

7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Excluding the following services:
             A. 2004 Representation
             B. Reaffirmation Representation
             C. Motion to Value under McNeil
             D. Motion to Extend Time to File Schedules
             E. Motion to Reinstate due to debtor failure to attend 341 or provide timely documents
             F. Suggestion of Bankruptcy
             G. Motion to Convert Chapter 7 to Chapter 13
             H. Notice to Convert Chapter 13 to Chapter 70
             I. Filing of Adversary
             J. Motion to impose or extend the bankruptcy stay
             K. Motion to Reopen Case due to non-execution of Post Filing Bankruptcy Course
             L. removal of a pending action in another court;
             M. obtaining title reports;
             N. the determination of real estate or tax liens;
             O. appeals to the BAP, District Court of Court of Appeals;
             P. correcting credit reports
             Q. negotiations with Check Systems regarding Client;
             R. motions to Discuss Clients bankruptcy case filed by the Trustee, U.S. Trustee, or any creditor;
             S. any adversary proceeding filed by the Trustee, U.S. Trustee, or any other party on any basis including, without
             limitation, proceedings to determine whether a debt is dischargeable;
             T. preparing reaffirmation agreements, negotiating the terms of reaffirmation agreements proposed by creditors,
             motions to redeem personal property, and negotiating reaffirmation agreements when Client income is not
             sufficient to rebut the presumption of undue hardship and special circumstances do not warrant the signing of a
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                                                  Debtor(s)

                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                       (Continuation Sheet)
              reaffirmation agreement; and
              U. motions to revoke a discharge.
                                                                CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

   November 27, 2024                                                     /s/ Haven Del Pino, Esq.
   Date                                                                  Haven Del Pino, Esq. 88606
                                                                         Signature of Attorney
                                                                         Del Pino & Granados Law Firm
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